        Case 4:20-cv-01028-BRW Document 22 Filed 10/27/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

CHARLES HICKS                                                                      PETITIONER

VS.                               4:20-CV-01028-BRW/JTR

LUCAS EMBERTON, Sheriff,
Van Buren County, Arkansas                                                        RESPONDENT


                                            ORDER

       I have reviewed the Recommendation submitted by United States Magistrate Judge J.

Thomas Ray. No objections have been filed. After careful review, I approve and adopt the

Recommendation in all respects.

       Accordingly, Petitioner’s habeas petition is DISMISSED, without prejudice.

       I certify, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal from this

Order and the accompanying Judgment would not be taken in good faith.

       IT IS SO ORDERED this 27th day of October, 2020.



                                                 Billy Roy Wilson________________
                                                 UNITED STATES DISTRICT JUDGE
